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                                                      U.S. Department of Justice

                                                      CHANNING D. PHILLIPS
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                   March 17, 2021

Cara Halverson
Assistant Federal Public Defender
VIA E-mail

       Re:    United States v. Brandon Fellows
              Case No. 21-cr-83-TNM

Dear Counsel:
      This is to memorialize the following initial discovery sent you on February 26, 2021:

Email 1: Serial 2_1A_001256_003 to _009: open source pictures.

Email 2: Serial 2_1A_001256_0010 to _0012; _0014; _0017 to _0018;
         File # 516342661; and
         Two screenshots from CNN;
       All open source pictures.

Email 3: Fellows in News;
         Fellows in Office;
         Fellows in Office 2-4;
         Fellows in senator’s office: six pictures;
         Link to an interview of Fellows by a local news station in Niskayuna, NY; and
         Link entitled “Tweets with replies by Brandon Fellows [twitter name]/Twitter” ;
       All open source media.

Email 4: Fellows, Brandon – News Article;
         Fellows, Brandon – News Article 2;
         Photographes entitled Fellows on Bus, Fellows on Marquez, Fellows on Motorcyle,
gettyimages-1230458047; Merkley Photo;
       All open source media.

Email 5: Serial 31;
         Serial 34_import;
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           Serial 35_import; and
           Serial 40;
All listing what was taken during the search warrants.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       Additional materials will be provided after the entry of a Protective Order in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Mona Lee M. Furst
                                                      Mona Lee M. Furst
                                                      Assistant United States Attorney
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Enclosure(s)
cc:




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